Case 2:17-cv-00696-SPC-MRM Document 36 Filed 07/10/18 Page 1 of 3 PageID 162



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   FORT MYERS DIVISION

PATRICIA KENNEDY,

       Plaintiff,

v.                                                     Case No: 2:17-cv-696-FtM-38MRM

U AND V FOOD CORPORATION and A-
Z DISCOUNT BEVERAGE OF NAPLES,
INC.,

       Defendants.
                                              /

                                              ORDER

       This cause comes before the Court upon review of the Motion to Set Aside / Motion for

Rehearing (Doc. 34) filed by Kaushik Sanghvi on behalf of Defendant A-Z Discount Beverage

of Naples, Inc.

       The Motion states that “I, Kaushik Sanghvi the owner of A to Z Discount Beverage Inc.,

am appealing the order to default issued on June 14th, 2018, case number 2:17-cv-00696-SPC-

MRM.” (Id. at 1). In support, Mr. Sanghvi states, “I am a small business, a corporation yes but

a small store. I work here twelve hours a day Monday through Saturday and seven hours on

Sunday.” (Id.). Mr. Sanghvi states that “[t]he ‘corporation’ does not have an attorney” because

“I can’t afford one.” (Id.).

       Mr. Sanghvi further states that “I answered all the papers that were served to me – but

was denied by the court because they were not filed by an attorney.” (Id.). Mr. Sanghvi states

that he “was unable to find anything under the ADA that claimed that my responses had to be

filed by an attorney.” (Id.). Mr. Sanghvi contends that “[a] state law rule requiring filing by an

attorney cannot trump a federal civil rights statute silent on this same point.” (Id.).
Case 2:17-cv-00696-SPC-MRM Document 36 Filed 07/10/18 Page 2 of 3 PageID 163



       As a final matter, Mr. Sanghvi argues that “[t]he owner of the property should be held

responsible, not me as a leasee [sic].” (Id.). Accordingly, Mr. Sanghvi states that “I hereby

appeal the judgment against me – a small shop – just because I cannot afford an attorney to mail

the same papers I have sent.” (Id.).

       After review of the filing, the Motion (Doc. 34) must be stricken because it was filed by a

non-attorney. As noted by the Court previously in this action, the Eleventh Circuit has held that

a corporation cannot proceed pro se and must be represented by counsel. Palazzo v. Gulf Oil

Corp., 764 F.2d 1381, 1385 (11th Cir. 1985). Additionally, this Court’s Local Rules state that a

corporation “may appear and be heard only through counsel admitted to practice in the Court.”

M.D. Fla. R. 2.03(e). Indeed, as noted by the Supreme Court of the United States, “[i]t has been

the law for the better part of two centuries . . . that a corporation may appear in the federal courts

only through licensed counsel.” Rowland v. California Men’s Colony, Unit II Men’s Advisory

Council, 506 U.S. 194, 201-02 (1993) (citing Osborn v. President of Bank of U.S., 9 Wheat. 738,

829 (1824)).

       Here, the Court understands Mr. Sanghvi’s position that he cannot afford counsel.

Nevertheless, while Mr. Sanghvi’s decision to do business as a corporation provides him

numerous benefits, proceeding as a corporation also comes with certain responsibilities and

obligations. As the authorities cited above make clear, one such obligation of a corporation is

that when it is sued in federal court, it must be represented by counsel. See Rowland, 506 U.S. at

201-02; Palazzo, 764 F.2d at 1385; accord M.D. Fla. R. 2.03(e). As a result, because Defendant

A-Z Discount Beverage of Naples, Inc. is a corporation, all filings by Defendant A-Z Discount

Beverage of Naples, Inc. must be made through counsel, regardless of whether Defendant or its

owners can afford an attorney.




                                                  2
Case 2:17-cv-00696-SPC-MRM Document 36 Filed 07/10/18 Page 3 of 3 PageID 164



       In this instance, however, the Motion was filed by Kaushik Sanghvi on behalf of

Defendant A-Z Discount Beverage of Naples, Inc. (Doc. 34 at 1). As previously noted by the

Court, there is no indication that Kaushik Sanghvi is an attorney. (See Docs. 18, 24). Because

Defendant A-Z Discount Beverage of Naples, Inc. is a corporation and cannot proceed pro se,

the Motion filed by filed by Kaushik Sanghvi on behalf of Defendant A-Z Discount Beverage of

Naples, Inc. is improper and due to be stricken.

       Accordingly, the Court hereby ORDERS that:

       1) The Motion to Set Aside / Motion for Rehearing (Doc. 34) filed by Kaushik Sanghvi

           on behalf of Defendant A-Z Discount Beverage of Naples, Inc. is STRICKEN.

       2) The Clerk of Court is directed to indicate on the docket that the filing (Doc. 34) is

           stricken pursuant to this Order.

       3) Mr. Sanghvi is admonished once again that he may not make any filings on

           behalf of Defendant A-Z Discount Beverage of Naples, Inc.

       DONE AND ORDERED in Fort Myers, Florida on July 10, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




                                                   3
